                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                                NO. 5:19-CR-00479-D

UNITED STATES OF AMERICA                 )
                                         )
              v.                         )          ORDER TO SEAL
                                         )
EMILIO R. MORAN                          )

         Upon motion of the United States, it is hereby ORDERED that Docket Entry

Number 85.in the above-captioned case be sealed by the Clerk.

         It is FURTHER ORDERED that the Clerk provide copies of the filed sealed

documents to the United States Attorney and Defendants' attorneys.




                                  JES C. DEVER III
                                · United States District Judge




     r




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